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                                  2                                 UNITED STATES DISTRICT COURT

                                  3                              NORTHERN DISTRICT OF CALIFORNIA

                                  4

                                  5       1049 MARKET STREET, LLC, a
                                          California Limited Liability Company,           Case No. 4:15-cv-02075-JSW
                                  6
                                                               Plaintiff,
                                                                                          AMENDED CONSENT OR
                                  7              v.                                       DECLINATION
                                                                                          TO MAGISTRATE JUDGE
                                  8       CITY AND COUNTY OF SAN                          JURISDICTION
                                          FRANCISCO, BOARD OF
                                  9       SUPERVISORS OF THE CITY AND
                                          COUNTY OF SAN FRANCISCO,
                                  10      PLANNING DEPARTMENT OF THE
                                  11
                                          CITY AND COUNTY OF SAN
                                          FRANCISCO, SAN FRANCISCO
                                  12      DEPARTMENT OF BUILDING
                                          INSPECTION, SAN FRANCISCO
Northern District of California
 United States District Court




                                  13      BUILDING INSPECTION
                                          COMMISSION, SAN FRANCISCO
                                  14      BOARD OF APPEALS, and DOES 1-50
                                  15
                                                          Defendants.

                                  16   INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are
                                       the party) or the party you represent (if you are an attorney in the case) choose(s) to consent or
                                  17   decline magistrate judge jurisdiction in this matter. Sign this form below your selection.
                                  18      ☒ Consent to Magistrate Judge Jurisdiction
                                  19
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
                                  20   United States magistrate judge conduct all further proceedings in this case, including trial and
                                       entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
                                  21   United States Court of Appeals for the Ninth Circuit.
                                  22
                                              OR
                                  23
                                          ☐ Decline Magistrate Judge Jurisdiction
                                  24
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
                                  25   magistrate judge conduct all further proceedings in this case and I hereby request that this case
                                  26
                                       be reassigned to a United States district judge.

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                                               Case 4:15-cv-02075-JSW Document 49 Filed 08/10/15 Page 2 of 2




                                  1    DATE:   August 10, 2015                NAME:     Rebecca Furman
                                                                       COUNSEL FOR
                                  2                                    (OR “PRO SE”):   1049 MARKET STREET, LLC
                                  3
                                                                                        /s/ Rebecca Furman
                                  4                                                                  Signature
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Northern District of California
 United States District Court




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